Case 1:04-cr-00911-JS Document 476 Filed 10/01/07 Page 1 of 7 PageID #: 2888



UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

- - - - - - - - - - - - - - - - X

UNITED STATES OF AMERICA

     - against -                               04 CR 911 (JS)

ALPHONSE T. PERSICO,
     also known as
     “The Kid” and
     “Allie Boy,” and
JOHN J. DEROSS,
     also known as
     “Jackie,”

                Defendants.

- - - - - - - - - - - - - - - - X




                  GOVERNMENT’S MEMORANDUM OF LAW
             IN SUPPORT OF ITS FIRST IN LIMINE MOTION




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Case 1:04-cr-00911-JS Document 476 Filed 10/01/07 Page 2 of 7 PageID #: 2889



                           TABLE OF CONTENTS

Preliminary Statement . . . . . . . . . . . . . . . . . . . . . 1

Analysis     . . . . . . . . . . . . . . . . . . . . . . . . . . . 1

     I.    THE COURT SHOULD PRECLUDE REFERENCE TO THE
           POSSIBLE PENALTIES FACED BY THE DEFENDANTS          . . . . . 1

     II.   THE COURT SHOULD PRECLUDE REFERENCE TO PUBLICATIONS
           NOT IN EVIDENCE . . . . . . . . . . . . . . . . . . . 2

     III. THE COURT SHOULD PRECLUDE REFERENCE TO THE IRAQ WAR
          OR OTHER EXTRANEOUS MATTERS THAT INVITE THE JURY
          TO DECIDE BASED ON BIAS, SYMPATHY, OR PREJUDICE . . . 3

     IV.   THE COURT SHOULD PRECLUDE REFERENCE TO THE PRIOR
           TRIAL IN THIS MATTER . . . . . . . . . . . . . . . . 4

Conclusion    . . . . . . . . . . . . . . . . . . . . . . . . . . 5




                                     i
Case 1:04-cr-00911-JS Document 476 Filed 10/01/07 Page 3 of 7 PageID #: 2890



                         Preliminary Statement

          The government respectfully submits this motion to

address in limine four matters that pertain to, among other

things, the content of the opening statements.

                                 Analysis

I.   THE COURT SHOULD PRECLUDE REFERENCE TO THE POSSIBLE
     PENALTIES FACED BY THE DEFENDANTS

          The government moves to preclude the defense from

referencing the possible penalties faced by the defendants, such

as a life sentence of imprisonment.         Such penalties are

irrelevant, and reference to them risks inappropriate jury

decision based on bias or sympathy rather than facts and law.

See Rogers v. United States, 422 U.S. 35, 40 (1975) (“the jury

[has] no sentencing function and should reach its verdict without

regard to what sentence might be imposed”); United States v.

Jones, 933 F.2d 807, 811 (10th Cir. 1991) (“[T]here is abundant

authority that it is improper to inform the jury of the

defendant’s possible punishment.”); United States v. Cook, 776

F. Supp. 755, 757 (S.D.N.Y. 1991) (“[w]here the jury is permitted

to speculate concerning a defendant’s possible punishment, a jury

cannot properly . . . determine guilt or innocence based upon an

impartial consideration of the evidence, unswayed by emotion,

fear or prejudice”).
Case 1:04-cr-00911-JS Document 476 Filed 10/01/07 Page 4 of 7 PageID #: 2891



           The government raises this issue because, during

closing arguments at the first trial, defense counsel for Persico

referenced the possible penalties faced by Persico.           See Ex. A

(Tr. 3668 (“That, ladies and gentlemen, is nowhere near the proof

beyond a reasonable doubt, the proof that you need to convict a

man of crime, to take away his liberty and send him to jail for

the rest of his life.”) (emphasis added)); Ex. B (Tr. 3767 (“a

man’s life is at stake for something he didn’t do”) (emphasis

added)).

II.   THE COURT SHOULD PRECLUDE REFERENCE TO PUBLICATIONS NOT IN
      EVIDENCE

           The government moves to preclude reference to

publications and other items not in evidence.          For example,

during opening statement and again during closing argument at the

first trial in this matter, counsel for defendant DeRoss put

before the jury an extensive quotation from a law review article

regarding the veracity of cooperating witnesses.           See Ex. C (Tr.

80-81, 3663).   That article was not in evidence, nor would there

have been any proper basis for admitting it in evidence.            In

addition, the excerpt from the article was not an accurate

statement of the relevant law regarding the jury’s assessment of

cooperating witnesses, and had the effect of putting before the

jury purported facts about cooperating witnesses (such as the




                                     2
Case 1:04-cr-00911-JS Document 476 Filed 10/01/07 Page 5 of 7 PageID #: 2892



frequency of conviction based on their testimony) that were

inaccurate, irrelevant, and/or risked jury confusion or improper

jury reliance on the article.

          Counsel for defendant Persico also relied on the

article in closing argument.      See Ex. D (Tr. 3696).

          Any reference to that article, or any other

publications or item not in evidence, is inappropriate and should

be precluded.

III. THE COURT SHOULD PRECLUDE REFERENCE TO THE IRAQ WAR OR OTHER
     EXTRANEOUS MATTERS WHICH INVITE THE JURY TO DECIDE BASED ON
     BIAS, SYMPATHY, OR PREJUDICE

          The government moves to preclude reference to the Iraq

war or other matters which invite decision based on improper

considerations such as bias, sympathy or prejudice.           For example,

during closing argument at the first trial, counsel for DeRoss

discussed in detail the United States’s decision to invade Iraq,

and analogized that decision to the United States’s prosecution

of defendant DeRoss.     See Ex. E (Tr. 3662).       Such references

obviously should be precluded, as they invite jury decision based

on bias, symphathy, or prejudice, in regard to matters totally

irrelevant to this case.




                                     3
Case 1:04-cr-00911-JS Document 476 Filed 10/01/07 Page 6 of 7 PageID #: 2893



IV.   THE COURT SHOULD PRECLUDE REFERENCE TO THE PRIOR TRIAL IN
      THIS MATTER

            The government moves to preclude reference to the first

trial in this matter, which resulted in a hung jury.           The

existence of that proceeding and its outcome is hearsay, is

irrelevant, and risks jury confusion and prejudice to both

parties.    For the same reasons, defense counsel should be

precluded on cross-examination from referencing that any of the

government’s witnesses have testified in a proceeding where

Persico or DeRoss was a defendant.         To the extent defense counsel

can properly seek to impeach any witness using testimony at the

prior trial, defense counsel should be required to refer to that

trial only as a “proceeding,” without identifying who was a

defendant in the matter, the outcome, or when the proceeding

occurred.    Such a procedure was employed in June 2007 by the

Honorable Nicholas G. Garaufis in the retrial of United States v.

Basciano, 03 CR 929.     See Ex. F.       Judge Garaufis noted that the

risk of unfair prejudice to either party inherent in referencing




                                      4
Case 1:04-cr-00911-JS Document 476 Filed 10/01/07 Page 7 of 7 PageID #: 2894



the case’s retrial status is extremely serious and requires the

utmost caution by all parties:

      [t]he danger of unfair prejudice resulting from the
      admission of evidence concerning the first trial is
      extreme. The very fact that the defendant was
      previously tried for some of the RICO predicate acts
      charged in this case is potentially very
      prejudicial. . . . [If jurors] would learn of the
      prior trial, or if the questioning resulted in putting
      a thought in the juror’s minds that there was a prior
      trial, jurors may start to wonder what happened at the
      prior trial, and why there was a need for a subsequent
      trial. Raising these types of questions has the
      potential to prejudice both parties. . . . In light of
      this, the parties and the court must make every effort
      to ensure the existence of the prior trial is not
      placed before the jury.

Id.   The same reasoning applies here.

                               Conclusion

           For the reasons set forth above, the government’s

motion in limine should be granted.


Dated:     Brooklyn, New York
           October 1, 2007

                                         Respectfully submitted,

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                                     5
